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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WISCONSIN


DRIFTLESS AREA LAND
CONSERVANCY and
WISCONSIN WILDLIFE
FEDERATION,

Plaintiffs,
                                                           Case No. 19-CV-1007
        v.

MICHAEL HUEBSCH,
REBECCA VALCQ, and
ELLEN NOWAK, Commissioners, and
PUBLIC SERVICE COMMISSION OF
WISCONSIN,

Defendants.

______________________________________________________________________________

   DECLARATION OF NON-PARTY ROBERT GARVIN IN SUPPORT OF HIS AND
 NON-PARTY WEC ENERGY GROUP’S RESPONSES TO PLAINTIFFS’ MOTION TO
                                   COMPEL
______________________________________________________________________________

I, Robert Garvin, declare as follows:

    1. I have personal knowledge of the facts stated herein and, if called upon to do so, could

        and would testify competently thereto. The following is true and correct to the best of

        my knowledge and belief.

    2. I am the Executive Vice President - External Affairs for Wisconsin Energy Group

        (“WEC”), a Wisconsin public utility holding company.

    3. Neither WEC nor I were involved in the contested case before the Public Service

        Commission of Wisconsin (“PSC”) that led to the above-referenced lawsuit. Neither

        WEC nor I had any involvement whatsoever in that PSC proceeding.
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4. WEC has taken no position—nor does it have one—on where the Cardinal-Hickory Creek

   transmission line will be placed. While the PSC proceeding at issue was pending, the

   American Transmission Company (“ATC”) solicited WEC and other ATC members to

   submit a letter to the PSC in support of the subject transmission line project. WEC

   declined to do so. WEC also declined to intervene in the proceeding as a Party.

5. As a holding company for several regulated utilities, employees of WEC and its

   subsidiaries (including myself) are in regular—even daily—communication with

   regulatory staff about dozens, if not hundreds, of pending matters as well as day-to-day

   operations.

6. WEC is a partial owner of ATC because it was formed in 2000 by Wisconsin electric

   utilities and cooperatives that agreed to contribute their high voltage transmission lines

   to the new entity pursuant to Wis. Stat. § 196.485. Under state law, ATC is obligated to

   construct, operate, maintain, and expand transmission facilities to provide reliable,

   adequate transmission service on a non-discriminatory basis and is subject to the

   jurisdiction of the Federal Energy Regulatory Commission. Today, ATC is owned by 26

   investor-owned electric utilities (or their holding companies), municipal electric utilities

   and electric cooperatives.

7. Thirty separate corporate entities fall under the WEC umbrella, only eight of which

   operate utilities. Of those eight utilities, five of them conduct business exclusively

   outside of the State of Wisconsin. Five of the utilities sell natural gas, not electricity,

   which is the utility service at issue in the Cardinal-Hickory Creek proceeding before the

   PSC.

8. WEC and its subsidiaries have more than 7,500 employees, not including additional




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      individuals who would qualify as WEC’s “representative, … , agent, board member,

      officer, or attorney,” plus each “representative, employee, agent, board member, officer,

      or attorney” of WEC’s many “affiliated entities, parent companies, and subsidiaries.”

   9. Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

      and correct.

Dated: November 5, 2020.


                                                            /s/ Robert Garvin
                                                            Robert Garvin




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